             EXHIBIT 3




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Utility Knife - Harbor Freight Tools                                                                                            Page 1 of 2




        NARROW YOUR RESULTS      28 M ATCHES FOR ''UTILITY KNIFE''

        CATEGORY
                                SortBy: Best Sellers        Show 20 items per page
         Hand Tools (25)                                                                                                         1 2
         GeneralM erch (3)


        PRICE RANGE
         Under$5 (21)
         $5 -$10 (5)
         $10 -$30 (2)


        M ORE W AYS TO SHOP
         AllProducts (28)
         InternetOnly (28)
         Sale Item (14)            Folding Locking Back       100 Pack Industrial     UtilityKnife         Pack Of50 Utility
         Top Rated (7)             Utility Knife              Quality Single Edge                          Knife Blades W ith
                                                              Utility Blades                               Dispenser
        BRAND
         Gordon (13)
         Pittsburgh (4)
         One Stop Gardens (1)
         Allway (1)                Item #90802                Item #39748             Item #3359           Item #92872
                                                                                       
                                   Only:$9.99                 Only:$4.99              Only:$2.99           Only:$5.99
                                   Sale:$5.99                 Sale:$2.99              Sale:$1.99           Sale:$4.99
                                   Add to W ishlist           Add to W ishlist        Add to W ishlist     Add to W ishlist




                                   5" Ceram ic Utility        3"Ceram ic Paring       33 Piece Deluxe      8" FOLDING SAW
                                   Knife                      Knife                   Hobby Knife Set




                                   Item #98184                Item #98183             Item #96551          Item #97343
                                                                                                            
                                   Only:$14.99                Only:$9.99                                   Only:$6.99
                                   Sale:$9.99                 Sale:$5.99              Only:$15.99          Sale:$5.99
                                   Add to W ishlist           Add to W ishlist        Add to W ishlist     Add to W ishlist




                                   Utility Blades,10          M iniLockback Utility   Snap Blade Utility   13 Piece Precision
                                   Pack                       Knife W ith Five        Knife                Knife Set
                                                              Blades




                                   Item #93085                Item #93439             Item #97069          Item #32099
                                                                                                            
                                   Only:$2.49                 Only:$5.99              Only:$1.49           Only:$3.99
                                   Sale:$1.99                 Sale:$4.99              Sale:$0.99           Sale:$2.99
                                   Add to W ishlist           Add to W ishlist        Add to W ishlist     Add to W ishlist




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http://www.harborfreight.com/catalogsearch/result?q=utility+knife                                                                8/16/2012
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                               56 Piece Precision   UtilityKnife W ith      M ultitoolRazorKnife   Pack Of10 18m m
                               Knife Set            Ergonom ic Grip         W ith 5 Blades         Replacem entSnap
                                                                                                   Blades




                               Item #36410          Item #66443             Item #97878            Item #98232
                                                                             
                                                    Only:$4.99
                               Only:$14.99          Sale:$2.99              Only:$4.99             Only:$1.49
                               Add to W ishlist     Add to W ishlist        Add to W ishlist       Add to W ishlist




                               Pack Of10 M ini      PackOf5 Utility Knife   2 Piece Lockback       Pack Of10 9m m
                               Utility Blades       Hook Blades             Utility Knife Set      Replacem entSnap
                                                                                                   Blades




                               Item #93789          Item #37557             Item #93859            Item #98231

                                                                            Only:$14.99
                               Only:$1.79           Only:$2.29              Sale:$9.99             Only:$0.99
                               Add to W ishlist     Add to W ishlist        Add to W ishlist       Add to W ishlist




                                                                                                                       1 2




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